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                       UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
 ______________________________________________________________________

 UNITED STATES OF AMERICA,                          Criminal No. 07-279 (JRT/AJB)

                                 Plaintiff,

 v.                                                           ORDER

 CRESCENCIO LEON BARRAZA,

                         Defendant.
 ______________________________________________________________________

      Tracy Perzel, Assistant United States Attorney, OFFICE OF THE
      UNITED STATES ATTORNEY, 300 South Fourth Street, Suite 600,
      Minneapolis, MN 55415, for plaintiff.

      William M. Orth, ORTH LAW OFFICE, 401 Second Avenue South,
      Suite 550, Minneapolis, MN 55401, for defendant.


      Based upon the Report and Recommendation of the United States Magistrate

Judge Arthur J. Boylan dated September 9, 2008, all the files and records, and no

objections having been filed to said Report and Recommendation, IT IS HEREBY

ORDERED that:

      1.     Defendant Crescencio Leon Barraza’s motion to suppress is DENIED

[Docket No. 21]; and

      2.     Defendant Crescencio Leon Barraza’s motion to suppress statements is

DENIED [Docket No. 49].


DATED: September 29, 2008
at Minneapolis, Minnesota.                    _______s/John R. Tunheim________
                                                     JOHN R. TUNHEIM
                                                  United States District Judge
